                      Case 4:11-cr-00186-JMM                   Document 29             Filed 01/18/12          Page 1 of 4
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
                                                                                                                       FILED
                                                                                                                    U.S. DISTRICT COURT
                                                                                                                EASTERN DISTRICT ARKANSAS
              Sheet 1



                                          UNITED STATES DISTRICT COU~ES
                                                            Eastern District of Arkansas          By:_---J~A~-If-~~~~F'RK
                                                                        )
             UNITED STATES OF AMERICA                                   )
                                  v.                                    )
               MARKETUS LADARRAL LOWE                                   )
                                                                        )      CaseNumber: 4:11cr00186-01 JMM
                                                                        )      USM Number: 24274-009
                                                                        )
                                                                        )       Kimberly Driggers
                                                                                  Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)            1 of Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
 18 §1791 (a)(2)                   Possession of Prohibited Object in Prison                                 10/20/2010                   1




       The defendant is sentenced as provided in pages 2 through           __4___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                               Dis      Dare dismissed on the motion of the United States.
               -------------

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenC!ant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                           1/17/2012
                                                                          Date of Imposition of Judgment




                                                                           James M. Moody                               US District Judge
                                                                          Name and Title of Judge


                                                                           1/18/2012
                                                                          Date
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AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 -Imprisonment

                                                                                                  Judgment- Page   ---=2=---- of   4
DEFENDANT: MARKETUS LADARRAL LOWE
CASE NUMBER: 4:11 cr00186-01 JMM


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 TWENTY-FOUR (24) months imprisonment to run consecutively to the term of imprisonment in Docket 4:06cr299-01 BRW
 pursuant to 18 USC § 3584 and USSG § 5g1.3 [A]). This term will also run consecutively to the 180 months sentence
 imposed in Jefferson County Circuit Court, Docket # CR06-846


    ilf The court makes the following recommendations to the Bureau of Prisons:
 The defendant shall participate in non-residential abuse treatment and educational and vocational programs.




   ilf The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
          D at      ------------------
                                                     D a.m.    D p.m.    on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

a ______________________________ , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL



                                                                        By ----------~==~~==~~~~~~-----------
                                                                                   DEPUTY UNITED STATES MARSHAL
                       Case 4:11-cr-00186-JMM                    Document 29             Filed 01/18/12         Page 3 of 4
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties
                                                                                                        Judgment - Page       of
DEFENDANT: MARKETUS LADARRAL LOWE
CASENUMBER: 4:11cr00186-01 JMM
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                           Fine                                 Restitution
TOTALS             $ 100.00                                             $ 0.00                             $ 0.00


D The determination of restitution is deferred until           ---
                                                                        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proiJortioned l?ayment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is pa1d.

Name of Payee                                                              Total Loss*         Restitution Ordered Priority or Percentage




TOTALS                               $                          0.00         $ - - - - - - - - - - - - -0.00
                                                                                                         ---



D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the              D fine     D restitution.
     D the interest requirement for the               D fine    D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April23, 1996.
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AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                                Judgment- Page        4      of          4
DEFENDANT: MARKETUS LADARRAL LOWE
CASE NUMBER: 4:11cr00186-01 JMM


                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    rJ/ Lump sum payment of$ _10_0_._0_0_ _ __ due immediately, balance due
          D      not later than                                      , or
          D      in accordance           D C,         D D,      D      E, or    D Fbelow; or
B    D Payment to begin immediately (may be combined with                      oc,        D D, or       D F below); or
C    D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
